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      EXHIBIT E
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                                :
                                                                :
 DEUTSCHE BANK TRUST COMPANY AMERICAS, in :
 its capacity as successor indenture trustee for certain series :
 of Senior Notes, et al.,                                       :
                                                                :
 Plaintiffs,                                                    :
                                                                :
                                                                :
 vs.                                                                    Case No. 3:11-cv-1175
                                                                :
                                                                :
 Employees Retirement Fund of the City of Dallas, et al.,
                                                                :
                                                                :
 Defendants.
                                                                :




                          ORDER GRANTING MOTION TO STAY

       BEFORE THE COURT is Plaintiffs’ Motion to Stay Defendants’ Time To Answer or

Otherwise Respond to the Complaint in this Action (Doc. No.20). It is hereby ORDERED that

the motion is GRANTED and:

       1.      The time for Defendants to respond to the Complaint in this action or commence

motion practice is stayed until the earlier of October 31, 2011, or modification by the United

States Bankruptcy Court for the District of Delaware in In re Tribune Co., No. 08-13141 (KJC),

of its April 25, 2011 order regarding the need to stay this action, or by further order of this Court

(the “Stay”). In addition, any applicable deadlines under Federal Rules of Civil Procedure 23 or

26 (or their local counterparts) will also be held in abeyance during the pendency of the Stay.

       2.      Notwithstanding the Stay, Plaintiffs are permitted to:

               a.      amend the Complaint or move for leave to amend the Complaint;

               b.      voluntarily dismiss this action or one or more defendants pursuant to


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                       Federal Rule of Civil Procedure 41;

               c.      move to add or drop a party or to sever any claim against a party pursuant

                       to Federal Rule of Civil Procedure 21;

               d.      move to consolidate and/or coordinate this action with any other action,

                       without limitation, by making a motion pursuant to 28 U.S.C. § 1407 and

                       the applicable Rules of Procedure of the U.S. Judicial Panel on

                       Multidistrict Litigation, or any applicable state rules;

               e.      file a motion pursuant Federal Rule of Civil Procedure 26(d)(1) seeking

                       preconference discovery to confirm that parties have been properly

                       identified, named and served in this action; and

               f.      file a motion seeking modification of this Order.

       3.      Notwithstanding the Stay, all Defendants or their counsel are required to enter an

appearance in this case within 30 days after the latter of entry of this Order or service of the

Complaint upon Defendant, without prejudice to any defenses that Defendant may have; and

       4.      Notwithstanding the Stay, Defendants are permitted to file responses to any

motions Plaintiffs make pursuant to section 2 of this Order.

       5.      Notwithstanding the Stay, any Defendant who was not provided with notice of

Plaintiffs’ motion prior to entry of this Order, because such defendant had not yet been served

with the Complaint or appeared in the action, may move this Court at any time to vacate or

modify this Order upon notice to Plaintiffs and all other Defendants in this action.

       6.      At such time as the Stay is lifted or terminates, this Court shall set the schedule

for answering or otherwise responding to the Complaint, unless the action has been transferred to

another court for coordinated pretrial proceedings.




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   IT IS SO ORDERED.

   SIGNED this 8th day of July, 2011.



                                    _______________________
                                    Royal Furgeson
                                    Senior United States District Judge




                                        3
